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 7                                    UNITED STATES DISTRICT COURT

 8                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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10   JEANNE M. HALL,                                   No. 2:12-cv-1856 LKK GGH PS
11                       Plaintiff,
12          v.                                         ORDER
13   MOORETOWN RANCHERIA/FEATHER
     FALLS CASINO, et al.,
14
                         Defendants.
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17          Plaintiff, who had proceeded pro se and in forma pauperis in the district court, filed on

18   February 19, 2014, a notice of appeal. The appeal has since been processed to the Ninth Circuit

19   Court of Appeals.

20          Pending before the court is the Ninth Circuit Court’s referral notice, issued February 26,

21   2014, for the limited purpose of determining whether in forma pauperis status should continue for

22   the appeal, or whether the appeal is frivolous or taken in bad faith.

23          “An appeal may not be taken in forma pauperis if the trial court certifies in writing that it

24   is not taken in good faith.” 28 U.S.C. § 1915(a)(3). Revocation of in forma pauperis status is

25   appropriate when a district court finds an appeal to be frivolous. Hooker v. American Airlines,

26   302 F.3d 1091, 1091-92 (9th Cir. 2002).

27          For the reasons stated in the October 15, 2013 findings and recommendations (see ECF

28   No. 29), adopted by the district judge on January 28, 2014 (ECF No. 31), the court finds that the
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 1   instant appeal is frivolous. The court thus certifies that plaintiff’s appeal is not taken in good

 2   faith, and concludes that plaintiff’s in forma pauperis status should not continue for purposes of

 3   the appeal.

 4            In accordance with the above, IT IS HEREBY ORDERED that:

 5            1. Plaintiff’s in forma pauperis status is revoked.

 6            2. The Clerk of the Court is directed to serve the United States Court of Appeals for the

 7   Ninth Circuit with a copy of this order.

 8   Dated: March 3, 2014

 9                                                          /s/ Gregory G. Hollows

10                                                UNITED STATES MAGISTRATE JUDGE

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